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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Rochelle Sims

v.                                           Case Number: 4:21−cv−04225

Memorial Hermann Health System, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Lee H Rosenthal
PLACE:
by video
United States District Court
515 Rusk Ave
Houston, TX
DATE: 6/28/2022

TIME: 10:50 AM
TYPE OF PROCEEDING: Initial Conference


Date: May 11, 2022
                                                        Nathan Ochsner, Clerk
